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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CPI Luxury Group

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  10220 Norris Ave
                                  Pacoima, CA 91331
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                   Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://cpilg.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    CPI Luxury Group                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4239

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    CPI Luxury Group                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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               /s/ M. Douglas Flahaut                   07/30/2023
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Fill in this information to identify the case:
Debtor name CPI Luxury Group
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
AMERICAN                                            Corporate Credit                                                                                          $191,741.11
EXPRESS
PO Box 96001
Los Angeles, CA
90096
ANGEPERLE (INTL)                                    Trade Debt                                                                                                $207,659.00
CO., LTD.
UNIT A1, 7/F.,
PHASE 1,
KAISER ESTATE, 41
MAN YUE STREET
HUNG HOM - HONG
KONG
CHAMPION PEARL                                      Trade Debt                                                                                                  $30,000.00
CO., LTD.
3-19, 2 CHOME,
YAMAMOTO-DORI
CHUO-KU
KOBE 650-0003
JAPAN
CHARMS FINDINGS                                     Trade Debt                                                                                                $287,761.86
II CORP.
3611 14TH AVE -
B01
Brooklyn, NY 11218
CREATIVE PEARL,                                     Trade Debt                                                                                                  $54,600.00
INC.
29338 Kelly Court
Canyon Country, CA
91387




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     CPI Luxury Group                                                                         Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
DELTA GROUP CO.,                                    Trade Debt                                                                                                $204,774.43
LTD.
C2,1/FL, HANG
FUNG INDUST
BLDG
PHASE 2, 2 HOK
YUEN STREET
HUNGHOM
KOWLOON - HONG
KONG
FEDERAL EXPRESS                                     Trade debt                                                                                                  $63,596.29
CORP.
942 South Shady
Grove Road
Memphis, TN 38120
GRASSMANN-BLAK                                      Trade Debt                                                                                                  $25,968.50
E, INC
58 EAST WILLOW
STREET
Millburn, NJ 07041
HING WAH                                            Trade Debt                                                                                                $106,468.50
PEARL(H.K) CO.,
LTD.
UNIT B1,11/F
CHINA INSURANCE
BUILDING
48 CAMERON
ROAD, T.S.T.
KOWLOON - HONG
KONG
JEWEL CASE                                          Trade debt                                                                                                  $31,745.56
CORPORATION
110 Dupont Drive
Providence, RI
02907
K.G.H JEWELLERY                                     Trade Debt                                                                                                  $28,276.03
LTD
8 DOV FRIEDMAN
RAMAT GAN-
ISRAEL, RG 52503
LEACH - GARNER                                      Trade Debt                                                                                                $188,660.88
P.O. BOX 358
49 PEARL STREET
Attleboro, MA 02703
LEE'S MFG.                                          Trade Debt                                                                                                  $72,089.52
COMPANY, INC.
ATTN: CHERYL
ANTONACCI
160 NIANTIC
AVENUE
Providence, RI
02907


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     CPI Luxury Group                                                                         Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
MBNA                                                Trade debt                                                                                                  $55,101.90
CORPORATION
1100 North King
Street
Wilmington, DE
19884
MIKI SIAMESE                                        Trade Debt                                                                                                $101,729.07
INTERNATIONAL
CO.
GEMOPOLIS
INDUSTRIAL
ESTATE
37 SOI
SUKHAPIBAN 2 SOI
31
KWANG DOKMAI,
KHET PRAWES
BANGKOK 10250,
THAILAND
NATIONAL CHAIN                                      Trade Debt                                                                                                  $38,914.96
COMPANY
55 ACCESS ROAD
Warwick, RI 02886
ROYAL PEARL                                         Trade Debt                                                                                                  $34,876.60
MATERIALS GRP
LTD
16/F, CHINA
INSURANCE BLDG.
48 CAMERON
ROAD, T.S.T.
KOWLOON - HONG
KONG
SEKAI SINJU                                         Trade Debt                                                                                                  $93,897.25
EXPORT CO., LTD
ATTN: DEEPAK
JAHVERI
6/22 KITANOCHO 2
CHOME
CHUO-KU
KOBE - JAPAN
THE V-GROUP, INC.                                   Trade debt                                                                                                  $34,564.17
379 Princeton
Hightstown Road
Cranbury, NJ 08512
W.R. COBB                                           Trade Debt                                                                                                  $35,473.68
COMPANY
ATTN: BRUCE
MACGUNNIGLE
800 WATERMAN
AVE
East Providence, RI
02914


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                       CPI Luxury Group
                       10220 Norris Ave
                       Pacoima, CA 91331


                       M. Douglas Flahaut
                       ArentFox Schiff LLP
                       555 West Fifth Street, 48th Floor
                       Los Angeles, CA 90013-1065


                       AAVIN Mezzanine Fund, LP,
                       as Collateral Agent
                       1245 First Avenue SE
                       Cedar Rapids, IA 52402


                       Alexito S. Lazaro



                       Allan Godinez Coronado



                       AMERICAN EXPRESS
                       PO Box 96001
                       Los Angeles, CA 90096


                       ANGEPERLE (INTL) CO., LTD.
                       UNIT A1, 7/F., PHASE 1,
                       KAISER ESTATE, 41 MAN YUE STREET
                       HUNG HOM - HONG KONG


                       Bie Li
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                   BLUE SHIELD OF CALIFORNIA
                   601 12th Street
                   Oakland, CA 94607


                   Brenda Y. Cruz Sixto



                   CAMEX JEWELLERY LIMITED
                   RM 211, WING ON OLAZA
                   NO. 62 MODY ROAD
                   TSIM SHA TSUI
                   HONG KONG


                   CHAMPION PEARL CO., LTD.
                   3-19, 2 CHOME, YAMAMOTO-DORI
                   CHUO-KU
                   KOBE 650-0003 JAPAN


                   CHARMS FINDINGS II CORP.
                   3611 14TH AVE - B01
                   Brooklyn, NY 11218


                   Christina Jabarian



                   COMMERCEHUB
                   800 Troy-Schenectady Road
                   Latham, NY 12110


                   CREATIVE PEARL, INC.
                   29338 Kelly Court
                   Canyon Country, CA 91387
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                   DELTA GROUP CO., LTD.
                   C2,1/FL, HANG FUNG INDUST BLDG
                   PHASE 2, 2 HOK YUEN STREET
                   HUNGHOM
                   KOWLOON - HONG KONG


                   DIAMOND SERVICES
                   15 West 47th Street Suite 1404
                   New York, NY 10036


                   DICENTRAL CORPORATION
                   1199 NASA Parkway Suite 101
                   Houston, TX 77058


                   East West Bank
                   555 Montgomery Street, 9th Floor
                   San Francisco, CA 94111


                   Edson Gentelizo



                   FEDERAL EXPRESS CORP.
                   942 South Shady Grove Road
                   Memphis, TN 38120


                   Frank Fu



                   FRONTIER COMMUNICATION
                   401 Merritt 7
                   Norwalk, CT 06851
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                   FULLER BOX
                   150 Chestnut Street
                   P.O. Box 9
                   North Attleboro, MA 02761


                   GEMOLOGICAL SCIENCE INTERNATIONAL
                   551 5th Avenue, 6th Floor
                   New York, NY 10176


                   Giovanni Haff



                   GLOBAL EXCHANGE SERVICES
                   100 Edison Park Drive, MS52A2
                   Gaithersburg, MD 20878


                   GRASSMANN-BLAKE, INC
                   58 EAST WILLOW STREET
                   Millburn, NJ 07041


                   Harold Jabarian (?)



                   HING WAH PEARL(H.K) CO., LTD.
                   UNIT B1,11/F
                   CHINA INSURANCE BUILDING
                   48 CAMERON ROAD, T.S.T.
                   KOWLOON - HONG KONG


                   Hong Lei
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                   IMPENCO LTEE LTD.
                   240 Rue Guizot West
                   Montréal, QC H2P 1L5
                   Canada


                   INVERSELOGIC, INC.
                   3467 Ocean View Blvd.
                   Glendale, CA 91208


                   Jack Hagop Jabarian



                   Jacqueline Geragos



                   JAMES A. MURPHY & SON, INC.
                   55 ACCESS ROAD
                   Warwick, RI 02886


                   Janice Hoffman



                   Jenny Pang



                   JEWEL CASE CORPORATION
                   110 Dupont Drive
                   Providence, RI 02907
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                   Jordan E. Barron



                   K.G.H JEWELLERY LTD
                   8 DOV FRIEDMAN
                   RAMAT GAN- ISRAEL, RG 52503


                   Kevork Hasbanian (?)



                   L.K. IMPORTS
                   606 S. OLIVE STREET
                   SUITE 2170
                   Los Angeles, CA 90014


                   LA DEPARTMENT OF WATER & POWER
                   111 N. Hope St.
                   Los Angeles, CA 90012


                   LABORFORCE
                   8095 215TH ST W, Suite 200
                   Lakeville, MN 55044


                   Lauren Baghdasarian



                   LEACH - GARNER
                   P.O. BOX 358
                   49 PEARL STREET
                   Attleboro, MA 02703
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                   LEE'S MFG. COMPANY, INC.
                   ATTN: CHERYL ANTONACCI
                   160 NIANTIC AVENUE
                   Providence, RI 02907


                   Maricala L. Whisler



                   MBNA CORPORATION
                   1100 North King Street
                   Wilmington, DE 19884


                   MEDIA IMPORTS, INC.
                   635 S. HILL STREET
                   3RD FLOOR
                   Los Angeles, CA 90014


                   Mei Ai Liu



                   MIKI SIAMESE INTERNATIONAL CO.
                   GEMOPOLIS INDUSTRIAL ESTATE
                   37 SOI SUKHAPIBAN 2 SOI 31
                   KWANG DOKMAI, KHET PRAWES
                   BANGKOK 10250, THAILAND


                   MOCKINGBIRD SYSTEMS INC.
                   8 Wingrove Woods
                   Brantford, ON N3P 1M1
                   Canada


                   NATIONAL CHAIN COMPANY
                   55 ACCESS ROAD
                   Warwick, RI 02886
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                   P&S MANUFACTURE



                   Paul Jean Thomassian



                   PITNEY BOWES
                   3001 Summer Street
                   Stamford, CT 06926


                   RAFFI AU CARRE
                   ATTN: RAFFI
                   607 S. HILL STREET
                   SUITE 442
                   Los Angeles, CA 90014


                   Raffi Baghdasarian



                   Rafi S. Balian



                   Raymond Leasing Corporation
                   Corporate Headquarters
                   P.O. Box 130
                   Greene, NY 13778


                   Renshun Huang
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                   REPUBLIC SERVICES
                   18500 N Allied Way
                   Phoenix, AZ 85054-6164


                   ROYAL PEARL MATERIALS GRP LTD
                   16/F, CHINA INSURANCE BLDG.
                   48 CAMERON ROAD, T.S.T.
                   KOWLOON - HONG KONG


                   Sandra J. Seda



                   SEKAI SINJU EXPORT CO., LTD
                   ATTN: DEEPAK JAHVERI
                   6/22 KITANOCHO 2 CHOME
                   CHUO-KU
                   KOBE - JAPAN


                   SHANGHAI PEARL CO., LTD.
                   ATTN: APAI LAM HING PEI
                   UNIT A1, 12/F. CHINA INSURANCE
                   BUILDING, 48 CAMERON ROAD, T.S.T.
                   KOWLOON - HONG KONG


                   SOVEREIGN JEWELRY CO.,LTD
                   99 Mahesak Road GPO Box 1856
                   Bangkok 10500 Thailand


                   SPARKLETTS
                   200 Eagles Landing Boulevard
                   Lakeland, FL 33810


                   SPS COMMERCE, INC.
                   333 South Seventh Street, Ste 1000
                   Minneapolis, MN 55402
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                   Stephanie Jabarian



                   SUSAN KRZYCKI
                   17807 W SPRING LAKE DR SE
                   Renton, WA 98058


                   Susan Xu



                   TAI WOO PEARL & GEMS CO., LTD.
                   Room 903-5, 9th Floor, Chevalier
                   House, 45-51 Chatham Road South,
                   Tsim Sha Tsui,
                   Kowloon, Hong Kong


                   TELESONIC



                   THE GAS COMPANY
                   Southern California Gas Company
                   555 West Fifth St.
                   Los Angeles, CA 90013-1011


                   THE JEWELERS BOARD OF TRADE
                   2348 Post Road Ste 120
                   Warwick, RI 02888


                   THE V-GROUP, INC.
                   379 Princeton Hightstown Road
                   Cranbury, NJ 08512
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                   TPX COMMUNICATIONS
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                   Austin, TX 78701


                   Tracy Hasbanian



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                   Inglewood, CA 90304-1018


                   TRUE COMMERCE INC.
                   210 West Kensinger Dr., Ste. 100
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                   UL VERIFICATION SERVICES INC.
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Case 1:23-bk-11059-VK   Doc 1 Filed 07/30/23 Entered 07/30/23 18:52:14   Desc
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                   UPS United Parcel Service
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                   Virginia M. Reyes



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